USDC IN/ND
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           case 1:15-cv-00247-WCL-SLC
                1:20-cv-00169-HAB-SLC document
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                                                                   page 1 of11of 1

 AO 450 (Rev. 01/09) Judgment in a Civil Action



                              UNITED STATES DISTRICT COURT
                                                            for the
                                                  Northern District of Indiana


TERRY L. LYMON,

                               Plaintiff,

v.                                                                     Civil Action No. 1:20-cv-00169


UAW LOCAL UNION #2209,

                               Defendants

                                          JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

     the plaintiff
recover from the defendant                                                                          the amount of
dollars $               , which includes prejudgment interest at the rate of                  % plus post-judgment
interest at the rate of          % along with costs.

     the plaintiff recover nothing, the action is dismissed on the merits, and the defendant
recover costs from the plaintiff                          .
 X Other: Judgment ENTERED in favor of Defendant, UAW Local Union #2209 and against Plaintiff,
Terry L Lymon.

This action was (check one):

   tried to a jury with Judge                                                      presiding, and the jury has
rendered a verdict.

    tried by Judge                                                       without a jury and the above decision was
reached.

 X decided by Judge Holly A. Brady on a Motion to Dismiss by Defendant.


DATE: September 25, 2020                                            ROBERT N. TRGOVICH, CLERK OF COURT

                                                                    By: s/ L. Higgins-Conrad
                                                                         Signature of Deputy Clerk
